              Case 2:13-cr-00247-TLN Document 39 Filed 02/19/14 Page 1 of 3


1    LAW OFFICES OF VICTOR D. VERTNER, ESQ.
     SBN 046100
2    5267 Elrose Avenue
     San Jose, CA 95124
3    (408) 266-4198

4    Attorney for Defendant
     JOSE RAMIREZ VERDUZCO
5

6
                                UNITED STATES DISTRICT COURT
7
                               EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                )      No. CR-S-13-247 JAM
                                              )
10                Plaintiff,                  )      Stipulation and Order
                                              )      Continuing Disposition by Plea or Trial
11                                            )      Setting
            v.                                )
12                                            )
     JOSE RAMIREZ VERDUZCO et al.,            )      Date: March 4, 2014
13                                            )      Time: 9:45 A.M.
                  Defendants.                 )      Judge: Honorable John A. Mendez
14   ________________________________________)
15         The United States of America though its undersigned counsel, Richard J. Bender,
16
     Assistant United States Attorney, together with counsel for defendant Jose Ramirez-
17
     Verduzco, Victor D. Vertner, ESQ., hereby stipulate the following:
18
        1. By previous order, this matter was set for February 25, 2014
19
        2. By this stipulation, defendant now moves to continue the status conference until
20
           March 4, 2014 at 9:45 a.m., and exclude time between February 25, 2014 and
21
           March 4, 2014 under the Local Code T-4 (to allow defense counsel time to
22

23         prepare).

24      3. The parties agree and stipulate, and request the Court find the following:

25      a. I have a matter to argue before the Sixth District Court of Appeals on Wednesday

26         February 19, 2014.

27      b. I have a matter to argue in Hollister, CA on Friday February 21, 2014. This matter
28
            Case 2:13-cr-00247-TLN Document 39 Filed 02/19/14 Page 2 of 3


1         has been remanded by the Sixth District Court of Appeals for a new Romero

2         hearing and Further Sentencing.
3    c. I have only recently received a newly discovered Police Report on Mr. Verduzco.
4
          The police report reflects a prior possession for sales charge, with a gross weight
5
          amount of 1.8 grams. I believe this police report may make a difference in regards
6
          to the proposed plea agreement.
7
     d.   For the above stated reasons, I will not be able to visit Mr. Verduzco in
8
          Sacramento to have him sign the proposed plea agreement by the Thursday
9
          deadline for executing the plea agreement before the February 25th appearance.
10
     e. I have spoken with Mr. Richard Bender, United States Attorney, and he has agreed
11

12        to my request of a continuance for one week.

13   f.   Counsel for defendants believe that failure to grant a continuance in this case

14        would deny defense counsel reasonable time necessary for effective preparation,

15        taking into account the exercise of due diligence.

16   g. The Government does not object to the continuance.
17   h. Based on the above-stated findings, the ends of justice served by granting the
18
          requested continuance outweigh the best interests of the public and the
19
          defendants in a speedy trial within the original date prescribed by the Speedy
20
          Trial Act.
21
     i.   For the purpose of computing time under the Speedy Trial Act, 18 United States
22
          Code Section 3161(h)(7)(A) within which trial must commence, the time period
23
          of February 25, 2014 and March 4, 2014 is deemed excludable pursuant to 18
24

25        United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to

26        Local Code T-4 because it results from a continuance granted by the Court at

27        defendant’s request on the basis of the Court’s finding that the ends of justice

28
             Case 2:13-cr-00247-TLN Document 39 Filed 02/19/14 Page 3 of 3


1          served by taking such action outweigh the best interests of the public and the

2          defendants in a speedy trial.
3          IT IS SO STIPULATED
4
     Dated: February __, 2014                       /s/ Victor D. Vertner
5                                                   Victor D. Vertner
                                                    Attorney for Defendant
6                                                   Jose Ramirez-Verduzco

7
     Dated, February___, 2014
8                                                   /s/ Richard J. Bender
                                                    Richard J. Bender
9                                                   Assistant U.S. Attorney
10                                          ORDER
11
           Based upon the above stipulation, including reasons for excluding time, IT IS SO
12
     FOUND AND ORDERED this 18th day of February, 2014 that the above captioned matter
13
     be continued to March 4, 2014 at 9:45 a.m.
14

15
                                                    /s/ John A. Mendez_____________
16                                                  HONORABLE JOHN A.MENDEZ
                                                    U.S DISTRICT COURT JUDGE
17

18

19

20

21

22

23

24

25

26

27

28
